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                      UNITED STATES DISTRICT COURT
                             FOURTH DIVISION
                          DISTRICT OF MINNESOTA


Sandra Jean Rushing,
                                             Civil File No. 22-CV-1357 (PAM/JFD)
                   Plaintiff,

      vs                                            AMENDED NOTICE
                                                     FOR REMOVAL
Walgreen Co.,

                   Defendant.


TO:   THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
      DISTRICT OF MINNESOTA:

      Pursuant to the Court’s May 20, 2022, Order (Doc. 5) Petitioner\Defendant

Walgreen Co., respectfully shows and alleges the following in support of its

AMENDED Notice for Removal.

      1. Petitioner is the Defendant in an action commenced against them in

Ramsey County District Court entitled Sandra Jean Rushing v. Walgreen Co.,

A true and correct copy of the Summons and Complaint served upon petitioner is

attached as Exhibit “A”. No further proceedings have taken place in the state

action.

      2. Plaintiff, Sandra Jean Rushing, is and was at all relevant times a citizen

of the State of Minnesota, Petitioner\Defendant Walgreen is and at all relevant

times a citizen of the State of Illinois with its principal place of business in the
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State of Illinois.   Walgreen Co. is and was at all relevant times incorporated in

the State of Illinois.

         3. Complete diversity exists among the parties to this action and the

amount in controversy exceeds the sum of $75,000, exclusive of interest and

costs.

         4. Based upon the foregoing, this Court has original jurisdiction for this

matter pursuant to 28 U.S.C. § 1332, and the entire matter is one which may be

removed to this Court pursuant to 28 U.S.C. § 1441.

         5. The Summons and Complaint in the state action was served on May

13, 2022, and Petitioner\Defendant have filed this Notice to Remove within thirty

(30) days after service of the Summons and Complaint.

         WHEREFORE, Petitioner\Defendant Walgreen Co. prays that the state

action pending against them be removed to this Court.

Dated: May 23, 2022                    Lind, Jensen, Sullivan & Peterson
                                       A Professional Association



                                       /s/ Brian A. Wood_______________
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